            Case 1:20-cv-04438-DLC Document 80 Filed 01/08/21 Page 1 of 4



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


JOSEPH A. DAOU and KAREN M. DAOU,

                        Plaintiff,

v.
                                                       Case No. 1:20-cv-4438-DLC
BLC BANK, S.A.L., CREDIT LIBANAIS,
S.A.L., AL-MAWARID BANK, S.A.L., and
BANQUE DU LIBAN,

                        Defendants.



              REPLY DECLARATION OF JEFFREY D. ROTENBERG
     IN FURTHER SUPPORT OF DEFENDANTS BLC BANK, S.A.L. AND CREDIT
      LIBANAIS, S.A.L.’S MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
                                 COMPLAINT

       JEFFREY D. ROTENBERG declares pursuant to 28 U.S.C. § 1746:

       1.       I am a member of the bar of the State of New York and am admitted to the bar of

this Court. I am a partner with the law firm of DLA Piper LLP (US), attorneys for Defendants

BLC Bank, S.A.L. (“BLC”), and Credit Libanais, S.A.L. (“CL”).

       2.       This reply declaration, together with the attached exhibits, is being submitted in

further support of BLC and CL’s Motion to Dismiss plaintiffs Joseph Daou and ST
                                                                             Karen Daou’s

(“Plaintiffs”) First Amended Complaint (see ECF No. 50).

       3.       Attached hereto as Exhibit 1 is a true and correct copy of the Declaration of

Patrick Soumrani, Lebanese legal expert, dated and duly executed January 6, 2021.

       4.       Attached hereto as Exhibit 2 is a true and correct copy of the Declaration of Nasri

Antoine Diab, Lebanese legal expert, dated and duly executed January 7, 2021




                                                  1
            Case 1:20-cv-04438-DLC Document 80 Filed 01/08/21 Page 2 of 4




       5.       Attached hereto as Exhibit 3 is a true and correct copy of the Council of Foreign

Relations webpage, “What Is Hezbollah?” by Kali Robinson, dated September 1, 2020, last

accessed January 8, 2021, and publicly available at https://www.cfr.org/backgrounder/what-

hezbollah.

       6.       Attached hereto as Exhibit 4 is a true and correct copy of the U.S. Department of

State Overseas Security Advisory Council’s (“OSAC”) “Lebanon 2016 Crime & Safety Report,”

dated March 14, 2016, last accessed January 8, 2021, and publicly available at

https://www.osac.gov/Content/Report/8dca5a92-4716-4092-8459-15f4adcae242.

       7.       Attached hereto as Exhibit 5 is a true and correct copy of OSAC’s “Travel

Advisory: Lebanon - Level 3 (Reconsider Travel),” dated October 19, 2019, last accessed

January 8, 2021, and publicly available at

https://www.osac.gov/Country/Lebanon/Content/Detail/Report/cd211f78-e979-4166-91ce-

170f207e725b.

       8.       Attached hereto as Exhibit 6 is a true and correct copy of OSAC’s “Travel

Advisory: Lebanon - Level 3 (Reconsider Travel),” dated September 4, 2018, last accessed

January 8, 2021, and publicly available at

https://www.osac.gov/Country/Lebanon/Content/Detail/Report/3a5a2da4-a8fe-4c1e-9a88-

15f4ae859164.

       9.       Attached hereto as Exhibit 7 is a true and correct copy of the Board of Governors

of the Federal Reserve System’s Webpage, “Supervision and Regulation,” dated January 7, 2021,

last accessed January 8, 2021, and publicly available at

https://www.federalreserve.gov/supervisionreg.htm.




                                                 2
         Case 1:20-cv-04438-DLC Document 80 Filed 01/08/21 Page 3 of 4




       10.    Attached hereto as Exhibit 8 is a true and correct copy of the Declaration of

Makram Sader, Secretary General of the Association of Banks in Lebanon, dated and duly

executed January 6, 2021.

 Dated: January 8, 2021
        New York, New York                          /s/ Jeffrey D. Rotenberg
                                                   Jeffrey D. Rotenberg




                                               3
          Case 1:20-cv-04438-DLC Document 80 Filed 01/08/21 Page 4 of 4




                                 CERTIFICATE OF SERVICE

        I hereby certify that I am one of the attorneys for the defendant in this action and that on

January 8, 2021, I caused a copy of the foregoing to be filed with the Court’s ECF system, which

will cause notice of its filing to be served electronically upon all counsel who have appeared in

this action.



                                              /s/ Jeffrey D. Rotenberg
                                              Jeffrey D. Rotenberg




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